Case 23-13359-VFP           Doc 3258       Filed 05/17/24 Entered 05/17/24 13:08:55                       Desc Main
                                          Document     Page 1 of 7



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 Marianna Udem
 Brigette McGrath
 ASK LLP
 60 East 42nd Street, 46th Floor
 New York, NY 10165
 Telephone: (212) 267-7342
 Facsimile: (212) 918-3427
 mudem@askllp.com
 bmcgrath@askllp.com

 Special Counsel to the Plan Administrator

 In re:                                                             Chapter 11

 BED BATH & BEYOND, INC., et al.,1                                  Case No. 23-13359 (VFP)

                                   Debtor.                          (Jointly Administered)


 Michael Goldberg, as Plan Administrator for
 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath &
 Beyond Inc.),2
                                        Plaintiff,
                                                                   Adv. No. Refer to Summons
 v.

 The Haddad Apparel Group, Ltd.,
                                              Defendant.

     COMPLAINT TO AVOID AND RECOVER TRANSFERS PURSUANT TO 11 U.S.C. §§
           542 AND TO DISALLOW CLAIMS PURSUANT TO 11 U.S.C. § 502




 1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
 Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is
 650 Liberty Avenue, Union, New Jersey 07083.
 2
   Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which was
 filed with the State of New York Department of State on September 21, 2023, the name of the entity formerly known
 as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No. 230921001833 DOS ID
 315602].



                                                          1
Case 23-13359-VFP        Doc 3258     Filed 05/17/24 Entered 05/17/24 13:08:55              Desc Main
                                     Document     Page 2 of 7



        Michael Goldberg, in his capacity as Plan Administrator (the “Plaintiff” or “Plan

 Administrator”) for 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond Inc.) and its

 affiliated debtors (each, a “Debtor” and collectively, the “Wind-Down Debtors” or “Debtors”) in

 the above-captioned case, files this complaint (the “Complaint”) for turnover of the Debtors’

 property against The Haddad Apparel Group, Ltd. (the “Defendant”) and to disallow any claims

 held by Defendant. In support of this Complaint, Plaintiff alleges upon information and belief that:

                                     NATURE OF THE CASE

        1.       Plaintiff seeks turnover of property of the estate, or the value of such property, in

 the possession of Defendant pursuant to section 542 of chapter 5 of title 11 of the United States

 Code (the “Bankruptcy Code”).

        2.       In addition, Plaintiff seeks to disallow, pursuant to sections 502(d) and (j) of the

 Bankruptcy Code, any claim that Defendant has filed or asserted against the Debtors or that has

 been scheduled for Defendant. Plaintiff does not waive but hereby reserves all of its rights to object

 to any such claim for any reason, including, but not limited to, any reason set forth in sections

 502(a) through (j) of the Bankruptcy Code.

                                  JURISDICTION AND VENUE

        3.       The United States Bankruptcy Court for the District of New Jersey (the “Court”)

 has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§ 157 and 1334(b). The

 underlying chapter 11 bankruptcy case is captioned In re Bed Bath & Beyond, Inc., Case No. 23-

 13359 (VFP).

        4.       This adversary proceeding is a “core” proceeding to be heard and determined by

 the Court pursuant to 28 U.S.C. § 157(b)(2). Plaintiff consents to entry of final orders and judgment

 by the Court.




                                                   2
Case 23-13359-VFP       Doc 3258    Filed 05/17/24 Entered 05/17/24 13:08:55              Desc Main
                                   Document     Page 3 of 7



        5.      Venue of the Debtors’ chapter 11 case and this adversary proceeding is proper in

 this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        6.      The statutory and legal predicates for the relief sought herein are sections 502 and

 542 of the Bankruptcy Code and Rules 3007 and 7001 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”).

                               PROCEDURAL BACKGROUND

        7.      On April 23, 2023 (the “Petition Date”), each Debtor, including Bed Bath &

 Beyond Inc. (“BB&B”), filed a voluntary petition for relief under chapter 11 of the Bankruptcy

 Code (the “Chapter 11 Cases”). During the Chapter 11 Cases, the Debtors continued to operate

 their businesses and manage their properties as debtors in possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code.            The Chapter 11 Cases were procedurally

 consolidated and jointly administered pursuant to Bankruptcy Rule 1015(b).

        8.      On September 14, 2023, the Court entered the Findings of Fact, Conclusions of

 Law, and Order (I) Approving the Disclosure Statement on a Final Basis and (II) Confirming the

 Second Amended Joint Chapter 11 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates

 [ECF No. 2172] (the “Confirmation Order”), confirming the Second Amended Joint Chapter 11

 Plan of Bed Bath & Beyond Inc. and its Debtor Affiliates [ECF No. 2160] (as amended, the

 “Plan”).
        9.      On September 29, 2023, the effective date of the Plan occurred (the “Plan

 Effective Date”). On the Plan Effective Date, the Plan Administrator became the sole

 representative of the Wind-Down Debtors. See Plan, Article IV, at § F.




                                                 3
Case 23-13359-VFP           Doc 3258     Filed 05/17/24 Entered 05/17/24 13:08:55          Desc Main
                                        Document     Page 4 of 7



                                             THE PARTIES

           10.     Pursuant to the Plan and the Confirmation Order, Plaintiff assumed responsibility

 for, inter alia, investigating, prosecuting, and compromising any and all of the Wind Down

 Debtors’ causes of action including claims under chapter 5 of the Bankruptcy Code.

           11.     Upon information and belief, Defendant was, at all relevant times a vendor or

 creditor that distributed women's, children's and infants' clothing and accessories to or for the

 Debtors. Upon further information and belief, at all relevant times, Defendant’s principal place of

 business has been and is located at 131 Docks Corner Road, Dayton, New Jersey 08810. Plaintiff

 is informed and believes and on that basis alleges that Defendant is a limited company residing in

 and subject to the laws of New York.

                                        FACTUAL BACKGROUND

           12.     As more fully discussed in the Amended Disclosure Statement Relating to the

 Amended Joint Chapter 11 Plan of Bed Bath & Beyond, Inc. and Its Debtor Affiliates (the

 “Disclosure Statement”),3 the Debtors were the largest home goods retailer in the United States,

 offering everything from bed linens to cookware to home organization, baby care, and more. At

 their peak, the Debtors operated over 970 stores across all 50 states and had additional operations

 spanning Canada, Mexico, and Puerto Rico.

           13.     As with many brick and mortar retailers, the Debtors were very negatively impacted

 by the COVID-19 pandemic. However, the twelve months prior to the Petition Date were the most

 difficult and turbulent in the Debtors’ storied history. From “meme stock” mania to credit

 agreement defaults and back again, the Debtors explored all potentially value-maximizing

 alternatives in an effort to turn around their business and stave off chapter 11. In response to both


 3
     Case No. 23-13359, ECF No. 1690.



                                                   4
Case 23-13359-VFP        Doc 3258    Filed 05/17/24 Entered 05/17/24 13:08:55               Desc Main
                                    Document     Page 5 of 7



 macroeconomic factors and more specific business challenges, the Debtors’ leadership formulated

 and attempted to implement a turnaround plan that was designed to refocus the business on its

 founding principles and restore consumer confidence. Defying all expectations in the months prior

 to the filing, the Debtors secured credit agreement waivers and amendments and were able to

 access the equity markets in February and March of 2023 in a last-ditch effort to avoid bankruptcy.

 But, in store sales continued to decline—with fourth quarter sales falling by almost $1 billion

 dollars year over year—and strained vendor credit relationships which led to a lack of inventory.

 Despite their efforts, the Debtors were simply unable to service their funded debt obligations while

 simultaneously supplying sufficient inventory to their store locations.

        14.     As described in Article III, Section B.6 of the Plan, General Unsecured Claims

 compromise an impaired class of creditors and are not expected to be paid in full.

        15.     Prior to the Petition Date, the Debtors maintained business relationships with

 various business entities and individuals, through which the Debtors regularly purchased, sold,

 received, and/or delivered goods and services.

                                     CLAIMS FOR RELIEF

                                   First Claim for Relief
           (Turnover of Property or the Value of Such Property – 11 U.S.C. § 542)

        16.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein.

        17.     Prior to the Petition Date, one or more of the Debtors made transfer(s) of an interest

 of the Debtors’ property to or for the benefit of Defendant (the “Turnover Amount”). Such

 Turnover Amount(s) are listed on Exhibit A and incorporated herein by reference.

        18.     The Debtors did not receive the goods paid for by the Turnover Amount(s).

        19.     The Turnover Amount(s) constitute property of one or more of the Debtors’ estates

 under section 541 of the Bankruptcy Code.



                                                  5
Case 23-13359-VFP        Doc 3258    Filed 05/17/24 Entered 05/17/24 13:08:55              Desc Main
                                    Document     Page 6 of 7



        20.     Defendant has no claim or right to maintain possession of the Turnover Amount(s).

        21.     As the Debtors did not receive any goods for the Turnover Amount(s), Defendant

 has no claim or right to maintain possession of the Turnover Amount(s).

        22.     Defendant should be compelled to deliver the Turnover Amount(s) or the value of

 such Turnover Amount(s) to the Debtors pursuant to 11 U.S.C. § 542.

                                   Second Claim for Relief
                    (Disallowance of all Claims – 11 U.S.C. § 502(d) and (j))

        23.     Plaintiff incorporates all preceding paragraphs as if fully re-alleged herein, to the

 extent they are not inconsistent with allegations contained in this Claim for Relief.

        24.     Defendant is currently in possession of the Turnover Amount(s), which are property

 of the Debtors’ estates pursuant to section 541 of the Bankruptcy Code. Defendant has not turned

 over such property, and has no right to retain such property.

        25.     Pursuant to section 502(d) of the Bankruptcy Code, any and all Claims of

 Defendant and/or its assignee, against Plaintiff or the Debtors must be disallowed until such time

 as Defendant pays to Plaintiff an amount equal to the Turnover Amounts.

        26.     Pursuant to section 502(j) of the Bankruptcy Code, any and all Claims of

 Defendant, and/or its assignee, against the Debtors previously allowed by the Debtors or by

 Plaintiff, must be reconsidered and disallowed until such time as Defendant pays to Plaintiff an

 amount equal to the Turnover Amount(s).

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests that the Court grant the following relief against

 Defendant:

        A.      On Plaintiff’s First Claim for Relief, that the Court enter an order compelling

 Defendant to immediately turn over the Turnover Amount(s) or their value;



                                                  6
Case 23-13359-VFP       Doc 3258    Filed 05/17/24 Entered 05/17/24 13:08:55             Desc Main
                                   Document     Page 7 of 7



        B.      On Plaintiff’s Second Claim for Relief, judgment in favor of Plaintiff and against

 Defendant disallowing any claims held or filed by Defendant against the Debtors or Plaintiff until

 Defendant returns the Turnover Amount(s) to Plaintiff pursuant to section 502(d) and (j) of the

 Bankruptcy Code; and

        C.      Such other and further relief as this Court may deem just and proper.

 Dated: May 17, 2024
                                         ASK LLP

                                         By: /s/ Brigette McGrath
                                         Brigette McGrath Esq., NJ SBN 01000-2011
                                         Richard Reding, Esq., MN SBN 0389945
                                         ASK LLP
                                         2600 Eagan Woods Drive, Suite 400
                                         St. Paul, MN 55121
                                         Telephone: (651) 289-3842
                                         Fax: (651) 406-9676
                                         Email: rreding@askllp.com

                                         -and-

                                         Marianna Udem, Esq., NJ SBN 03659-2006
                                         60 East 42nd Street, 46th Fl.
                                         New York, NY 10165
                                         Telephone: (212) 267-7342
                                         Fax: (212) 918-3427

                                         Attorneys for Plaintiff




                                                 7
